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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          )
FREE SPEECH COALITION, INC. et al.,       ) Civil Action No. 2:09-4607
                                          )
                  Plaintiffs,             ) Judge Michael M. Baylson
                                          )
                  v.                      )
                                          )
THE HONORABLE ERIC H. HOLDER, JR.,        )
 Attorney General,                        )
                                          )
                  Defendant.              )
                                          )


                DEFENDANT’S PROPOSED FINDINGS OF FACT




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I.     PLAINTIFFS

       A.      Adult Industry Plaintiffs

               1.      Free Speech Coalition, Inc. (“FSC”)

       1.      FSC is a trade association for the adult entertainment industry. Douglas

Testimony, Tr. June 3, 118:22-24. FSC currently has around 800 members. Id. at 74:25 – 75:1.

Some, though not all, of these members are engaged in the production of adult films, adult

websites, adult magazines, and other material containing sexually explicit depictions, and in the

distribution of adult products. Id. at 119:4-17. These members may qualify as primary

producers, secondary producers, or, often, both. Id. at 122:7-21. The Chair of FSC’s Board of

Directors, Jeffrey Douglas, is a lawyer and is also neither a primary producer nor a secondary

producer. Id. at 64:4-5;121:21-23.

       2.      FSC is neither a primary producer nor a secondary producer and does not itself

keep records pursuant to § 2257. Id. at 121:13-17. Nevertheless, Douglas testified at trial

regarding various burdens that he suggested were imposed by the 2257 regulations. Id. at 92-

108. However, other than plaintiffs Sinclair Institute and Marie Levine, no FSC member who is

subject to § 2257 testified regarding the actual nature or extent of the burdens that Douglas

described, nor did Douglas identify any FSC members in connection with any of these burdens. 1

The record is devoid of any information about the ages of performers appearing in sexually

explicit depictions produced by such members.

       3.      Other than plaintiffs Sinclair Institute and Marie Levine (stage name, Nina

Hartley, Levine Testimony, Tr. June 5, 37:18-19), FSC has identified former plaintiff David
1
 The only client that Douglas identified was FSC member David Conners, but Douglas did not
purport to identify any burdens that Conners faces in connection with his compliance with 2257.
Douglas admitted he had not visited Conners’ website in his capacity as Conner’s attorney,
Douglas Testimony, Tr. June 3, 131:22-24, nor was he familiar with the details of whether
Conners uses a third party custodian, id. at 132:10-16.

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Conners (stage name, Dave Cummings) and Vivid Video as FSC members that produce sexually

explicit material. Douglas Testimony, Tr. June 3, 125:4-7; 123:12-15; Def’s Ex. 57, at 625.

       4.      Both Conners and Vivid Video have used a significant number of young

performers in their work. The information provided by Conners indicates 47% of the individuals

in his films are 25 or younger. Def’s Ex. 48, at 7-11. Conners’ DVD covers also contain images

consisting of partial body parts, such as images only of an individual’s genitals. Douglas

Testimony, at 129; Def’s Ex. 47; see also Douglas Testimony, at 93-94 (indicating it is common

for box covers to contain images of “just the genitals”). For Vivid Video, 41% of performers in

the sample of 25 DVDs that FSC provided were 25 or younger and 57% were 29 or younger.

Def’s Ex. 314A.

       5.      Of the 27 adult film producers that were inspected by the 2257 inspection team in

2006 and 2007, four were FSC members at the time this case was filed. Id. at 136:5-24.

               2.     Sinclair Institute

       6.      Plaintiff Townsend Enterprises is a company in North Carolina, doing business as

the Sinclair Institute, which produces sexually explicit videos and images. Wilson Testimony,

Tr. June 3, 196: 14-24; 197:21-23. Phil Harvey Enterprises (“PHE”) founded the Sinclair

Institute in 1991. Wilson Testimony, Tr. June 4 Tr. 26:1-9. PHE owns several companies that

produce sexually-explicit material, such as Adam & Eve. Id. at 28:4-10; Def’s Ex. 128A-E.

       7.      PHE controls Sinclaird. Linda Diane Wilson, the employee at Sinclair in charge

of 2257 compliance, described PHE as a “sister company.” Wilson Testimony, Tr. June 3,

227:6-9. The president of Sinclair, Patrick Smith, reports to Phil Harvey and David Groves, the

two highest-ranking people at PHE. Wilson Testimony, June 4 Tr. 27:9-15; 26:10-16; 27:4-8.

Phil Harvey, the owner of PHE, is a majority shareholder in the Sinclair Institute. Wilson



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Testimony, Tr. June 3, 198:1-10. PHE supervises Sinclair’s 2257 compliance by conducting

“fire drills” whereby PHE personnel would come in with an image from a video or catalogue and

Ms. Wilson would have to produce all the required 2257 records for that image. Id. at 224:2—

225:3; 227:3-16. Indeed, PHE employees trained Ms. Wilson in 2257 compliance, and she

consults PHE employees when she has questions. Wilson Testimony, June 4 Tr. 29:17—30:23.

In addition, Ms. Wilson’s paycheck comes from PHE, and PHE handles Sinclair’s accounting,

payroll, and order processing. Id. 27:16—28:3. Moreover, Sinclair stores its 2257 records on a

server that PHE purchased, which also contains the 2257 records of other PHE companies, such

as Adam & Eve. Id. 30:24—32:14. And Sinclair sells Adam & Eve videos on its website. Id.

28:22—29:8.

       8.      The Sinclair Institute is both a primary and secondary producer of sexually

explicit videos. Wilson Testimony, Tr. June 3, 212:3-24. Sinclair sells these videos through its

two websites, www.sinclairinstitute.com and www.bettersex.com. Wilson Testimony, Tr. June

4, 10:2-10; 13:16-21; Def’s Exs. 122, 123. It also sells these videos through its print catalogues.

Wilson Testimony, Tr. June 4, 24:13—25:21; Def’s Exs. 129A-D.

       9.      The sexually explicit videos for which Sinclair is a primary producer have

included 18 and 19 year old performers. Wilson Testimony, Tr. June 3, 232: 23 - 238:1; Def’s

Ex. 311. Indeed, Ms. Wilson estimated that approximately 10% of the performers in these

sexually explicit videos have been between the ages of 18-20, and 30% of the performers have

been in their twenties. Wilson Testimony, Tr. June 4, 5:4-18.

       10.     Most of the sexually-explicit videos that the Sinclair Institute sells are videos

created by other companies, for which Sinclair is a secondary producer. Wilson Testimony, Tr.

June 4, 9: 14—10:1.



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       11.     A substantial amount of these videos depict very young and youthful looking

performers, and Sinclair markets these performers as being “young,” “youthful,” “18-year-old

blond,” “teen,” “nubile,” “school girl,” “cheerleader,” “fresh-faced newbies,” “college

freshman,” and using other terms to highlight their relative youth. Wilson Testimony, Tr. June 4,

14: 20—21:22; Def’s Exs. 124-126.

       12.     These videos, as all videos that Sinclair sells must, passed a review process and

met the standard of what Sinclair wants to be associated with. Wilson Testimony, Tr. June 4,

22:15—23:11. Sinclair collects the IDs of all of the performers in these videos. Id. at 23:16-25.

       13.     Sinclair estimated that it spends approximately $75,000 a year to comply with §

2257 and corresponding regulations, as measured by the salaries that it pays to the employees

engaged in 2257 compliance. Wilson Testimony, Tr. June 3, 229:25 - 230:20.

       14.     Sinclair made approximately $53 million in revenues from its sexually explicit

videos from 2005-2009, Def’s Ex. 133, and it has made approximately $8 million in revenues a

year in recent years. Wilson Testimony, Tr. June 4, 40:2-16. These revenues do not include the

revenues of PHE. Id. at 38:10-14.

       15.     Other factors suggests that Sinclair does not face substantial burdens in

complying with § 2257. Sinclair maintains the IDs and model releases of the performers in its

videos for business reasons other than § 2257. Wilson Testimony, Tr. June 4, 8:13-18. In

addition, neither Ms. Wilson nor the other Sinclair employees who have responsibility for 2257

compliance spend their full time on 2257 compliance. Wilson Testimony, Tr. June 3, 196:18-19;

197:5-10; 216:7-8; 229:8-24. Moreover, Sinclair employs a heavily automated 2257 compliance

system. For example, Sinclair’s electronic cross-referencing system automatically assigns a code

to all images entered into a visual library, and this code connects the images to the corresponding



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“documents that are required by 2257 to go along with that image.” Id. at 215: 4-6. And

although Sinclair keeps hard copies of its 2257 documents in addition to keeping electronic files,

Id. at 212: 15-20, this is not something required by the regulations.

                3.     Marie Levine

        16.     Plaintiff Marie Levine is an adult entertainer. Levine Testimony, Tr. June 5,

36:6-11. Levine began thinking that she wanted to perform in pornographic films when she was

17. Id. at 56:24—57:1. In 1982, she began working as a stripper in San Francisco. Id. at 37:1-4.

In 1984, when she was 25, she appeared in her first pornographic film, “Educating Nina.” Id. at

37:7-15. Levine’s stage name is Nina Hartley. Id. at 37:18-19. Since 1984, she has performed in

hundreds of pornographic film, and she is one of the most well-known pornographic actresses.

Id. at 40:24 - 41:2.

        17.     Levine produces sexually-explicit webshows that are available on her website

nina.com. Levine Testimony, Tr. June 5, 44:14-24. In these webshows, Levine engages in

masturbation or in sexual activities with other performers in the adult industry. Id. at 45:10-13;

46:10-13. Only people who buy a membership to her site can access these webshows. Id. at

44:14-24. She also sells sex toys and movies produced by others on her website. Id.

        18.     Levine has performed with women as young as 21 in her webshows. Levine

Testimony, Tr. June 5, 50:18-20; Def’s Ex. 88. Almost a quarter of performers Levine has

appeared with in sexually explicit material have been under 25. Def’s Ex. 314. Levine does not

rule out performing with individuals between the ages of 18 and 20 in her webshows. Levine

Testimony, Tr. June 5, 52:10-12.

        19.     Levine does not personally manage her website. A company called Premium

Cash, which is located in Canada, manages her website and acts as Levine’s custodian of 2257



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records. Levine Testimony, Tr. June 5, 52:13-25. Levine has a revenue-sharing agreement with

Premium Cash whereby this company links other sexually explicit material to her site. Id. 53:1-

6. Levine derives revenue from the sites that Premium Cash links to her site. Id. 54:25 - 56:8.

       20.     Most of the women appearing in the sites linked to Levine’s site are in their

twenties, and there are also “teen cams” linked to Levine’s website. Levine Testimony, Tr. June

5, 53:24 - 55:20; Def’s Exs. 86B, 86C, and 86D. Looking at these “teen cams,” Levine could not

state that all of the performers were over 18. Levine Testimony, Tr. June 5, 56:9-12.

       21.     From 2005-2009, Levine’s gross revenues from her website were approximately

$180,000. Levine Testimony, Tr. June 5, 53:7-10. Levine’s revenues increased after Premium

Cash started managing her website. Id. 53:11-13.

       22.     Despite the fact that Levine uses Premium Cash as her custodian of 2257 records,

and that she sends these records electronically to Premium Cash, Levine Testimony, Tr. June 5,

47:2-5, Levine keeps hard copies of the records in a file cabinet in her home. Id. 46:23 - 47:1.

       23.     Section 2257 has not prevented Levine from doing any project she has wanted to

do. Levine Testimony, Tr. June 5, 65:5-7.

       24.     Levine’s major concern with 2257 is that, in her view, the law presumes that she

is “a criminal before the fact.” Levine Testimony, Tr. June 5, 48:12-22. Other than this, Levine

has experienced some difficulty organizing the 2257 paperwork because “she is not a secretary.”

Id. 47:6-13. But Levine would check IDs of the performers in her webshows even in the absence

of 2257. Id. 49:4-7. Levine stated that requiring primary producers to check the IDs of their

performers and keep records is perfectly reasonable. Id. 64:24-65:4.

       25.     During her career as an adult actress, Levine has performed with teenagers who

recently graduated from high school. Levine Testimony, Tr. June 5, 57:2-8; Def’s Ex. 85C.



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Levine stated that it is not uncommon to find “women who have recently reached the age of

majority in adult films.” Id. 58:2-5. See Def’s Exs. 85A, 85B. Moreover, Levine admitted that

young women are welcome in pornography, id. 62:21-23, and that she has given advice to young

women seeking to enter the adult industry or moving forward in the industry. Id. 63:2-14.

       26.     Some of the videos in which Levine performs with teens have ended up on tube

sites such as porn.com, Bravo tube, and Red Tube. Def’s Exs. 87, 306, 307. Levine stated that

after she records a sexually explicit video for another producer she does not have any control

over where the video ends up. Levine Testimony, Tr. June 5, 71:16-21. These tube sites contain

sexually explicit images of other young women whom Levine could not identify as clearly over

18. Id. at 60:16—61:5.

       27.     Levine admitted that the word “teen” in pornography is used to attract viewers

interested in looking at younger looking people. Tr. June 5, 66:4-20. Employing youthful-

looking performers brings financial benefits to producers of sexually explicit depictions. Id.

67:18-20.

               4.      Thomas Hymes

       28.     Thomas Hymes identifies himself as a journalist in the adult entertainment

industry. Tr. June 4, 251:23-25; Tr. June 5, 12:7-11. Hymes did not study journalism in school

and acknowledges that many people create blogs and write things on the Internet, and the

question of whether a particular blogger qualifies as a journalist, or even what is journalism, is

“kind of up in the air.” Tr. June 5, 12:4-11, 20 to 13:11.

       29.     Since 2009, Hymes has been a senior editor at Adult Video News (“AVN”), a

trade media company within the adult industry. Hymes Testimony, Tr. June 4, 251:7-8. Since

1999, he has held positions either at AVN or at its competitor XBIZ, another trade media



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company in the adult industry. Id. at 251:17 - 252:6-14. His current job at AVN involves

working 60 or 70 hours a week, at a minimum. Id. at 258:10-11.

         30.    Hymes has never produced sexually explicit material or kept records pursuant to

2257. Hymes Testimony, Tr. June 4, 257:21 - 258:1.

         31.    In April 2009, while Hymes was not employed by either AVN or XBIZ, but was

working freelance, Hymes, together with two partners, launched a website, DailyBabylon.com,

that was intended as a commercial enterprise. Hymes Testimony, Tr. June 4, 252:24-253:19,

254:8, 258:12-21. This project was not successful, and as a result Hymes took his current full-

time job at AVN in 2009. Id. at 253:21-254:11. Since 2009, the Daily Babylon website has been

“moribund.” Id. at 254:13-14.

         32.    Other than the postings that occurred while the website was first in existence in

2009, a handful of posts were added in 2011, and since then, no posts were added until after

Hymes was deposed in this case, and shortly before he was scheduled to appear at trial. See

Def’s Ex. 77; Hymes Testimony, Tr. June 4, 260:7-264:8; Hymes Testimony, Tr. June 5, 9:20-

10:16.

         33.    Hymes claims that, if not for 2257, he would post sexually explicit images on

DailyBabylon to illustrate stories what he writes; he also speculated that, even though he is a

writer, he could “easily” take sexually explicit photographs himself and post them on the

website. Hymes Testimony, Tr. June 5, 11:8-16.

         34.    However, Hymes has no time to maintain the website, given his full-time job at

AVN, so for the past several years, his involvement with the site has consisted of nothing more

than paying a registration fee and maintaining an email address. Hymes Testimony, Tr. June 4,

259:13-260:2.



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       35.     Even if Hymes were to redesign the DailyBabylon website, as he suggested at

trial he would like to do, he does not know “exactly where [he] would want to go” or “the types

of images that [he] would want to post up.” Hymes Testimony, Tr. June 4, 256:21-23. Hymes

also does not know the identities of individuals that might appear in images he might want to

post, or the ages of those individuals. Hymes Testimony, Tr. June 5, 14:7-14.

       36.     Hymes testified that primary producers should check age verification documents

for performers and should keep records of having done so, and he acknowledged that if he were

to take photographs himself and post them on his website, he would be a primary producer.

Hymes Testimony, Tr. June 5, 14:15-15:21.

       37.     Hymes acknowledged that the act of posting a 2257 label on a website is not

technologically difficult. Hymes Testimony, Tr. June 5, 18:7-13.

       38.     Hymes acknowledged the existence of a third party custodian option, that

provides an alternative to keeping 2257 records in his own possession, but indicated a concern

that he could be subject to penalties based on recordkeeping errors of a third party custodian.

Hymes Testimony, Tr. June 5, 20:10-21:12.

       39.     The only aspect of the 2257 requirements that Hymes considers burdensome is the

penalty provision. Hymes Testimony, Tr. June 5, 24:4-9.

       B.      Photographer Plaintiffs

               1.      American Society of Media Photographers (“ASMP”)

       40.     ASMP is a trade association primarily for working photographers, meaning

photographers who make money from the sale or license of their photographic work. Mopsik

Testimony, Tr. June 3, 15:6-10; 46:14-21. ASMP has a little over 7000 members, primarily in

39 chapters around the United States, but also including around 250 foreign members. Id. at



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15:13-14. ASMP members include both still and motion (i.e., video) photographers, and some

ASMP members do motion work exclusively. Id. at 46:25 – 47:23.

       41.     According to ASMP’s Executive Director, Mopsik, in the course of this litigation,

ASMP circulated a survey asking members to indicate if they produced sexually explicit images

and received 400 responses. Id. at 24:3-11. However, neither the survey question nor the

responses are in the record, nor are any of the 400 individuals identified. Thus, there is no way

to know whether any of these individuals create images subject to § 2257. Id. at 58:18-25 –

59:1-2. The record is also devoid of any information regarding the ages of individuals appearing

in any such images. Id. at 59:3-7.

       42.     ASMP members may create work that is part of the adult entertainment industry,

and members of the adult entertainment industry may also be ASMP members. Id. at 56:6-12.

       43.     Other than plaintiff Barbara Alper, ASMP identified Craig Morey as a member

who creates sexually explicit depictions. Id. at 54:11-25 – 55:1-4. Morey, runs a website

containing erotic images of nude young women, some engaging in masturbation. Id. at 56:13-25

– 57:1-7; Def’s Exs. 31, 32. Some of these images can be viewed for free and others are

available to those who pay a membership fee. Mopsik Testimony, Tr. June 3, 57:5-7.

       44.     While photographers sometimes use model releases to obtain licensing rights for

their photographs, they do not always use model releases, particularly when engaging in editorial

or photojournalistic work. Id. at 51:13-25 – 52:1-8. The practice of using a model release does

not require checking the age of the model, and ASMP’s suggested release form does not record

the model’s age. Id. at 52:9-17. Indeed, models need not be 18 to sign a model release. Id. at

49:21-24.

       45.     Today, most photography is created in digital format. Mopsik Testimony, Tr.



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June 3, 28:15-17; 46:22-24. Digital files allow comments to be added in the metadata of a

photograph, recording information such as copyright or trademark information about an image or

the subject of an image, and it is common trade practice to record such information in that

manner. Id. at 40:25 - 41:1-24.

                 2.     Barbara Alper

           46.   Plaintiff Barbara Alper has been a professional photographer for approximately

thirty-five years. Alper Testimony, Tr. June 4, 217:17 – 218:13. Alper took sexually explicit

photographs at sadomasochism (“S&M”) and similar clubs in the 1980’s. Id. at 220:18-20;

221:9-17. These images were not restricted to mature-looking individuals. See, e.g., Pls.’ Ex. 43

at 3.

           47.   Although Alper maintains that she “had no doubt” that the people she

photographed were all adults, Alper Testimony, Tr. June 4, 224:9-12, she made no effort to

verify their ages herself and instead relied upon the fact that the clubs advertised themselves as

being restricted to people 18 and older or 21 and older. Id. 231:10-14.

           48.   Many of the images Alper took at these clubs were later sold, including some

images that were displayed at art galleries. Id. 221:1-3; 235:1-4.

           49.   Alper discontinued this line of work when the clubs shut down in the 1980’s for

reasons unrelated to 2257. Id. 234:14-25 (indicating that the clubs shut down due to the AIDS

crisis).

           50.   In addition to S&M images, Alper has also taken erotic images of herself and her

now-husband as part of her “body of work.” Id. 225:17-20.

           51.   Alper sold some of these erotic images in 2010 to a Norwegian publication called

Cupido for $360. Id. 235:24 – 236:15; Def.’s Ex. 13.



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        52.    While Alper has characterized the images as being “sexually explicit,” Alper

Testimony, Tr. June 4, 225:13-16, none of the images she offered at trial show conduct covered

by 2257 or 2257A, see Pls.’ Ex. 43 at 11-13 (depicting kissing, nipple pinching, and nipple

touching). 2

        53.    Alper’s primary concern with 2257 is that it precludes her from publishing a

compilation of her sexually explicit work, which would contain pre-1995 images for which she

lacks photo IDs together with other images taken after 2257 was in effect. Alper Testimony, Tr.

June 4, 229:1-19.

        54.    The extent to which Alper has actually pursued such a project is uncertain.

Alper’s testimony on this issue has been inconsistent. Despite unequivocally stating at her

deposition that she had not contacted a publisher concerning a compilation, id. at 240:19-23,

Alper testified at trial that she had at some point in the past two years emailed a friend of a friend

who is affiliated with a publisher. Id. 241:19-24.

        55.    Despite admitting that she “see[s] nothing wrong with asking [persons depicted in

sexually explicit images] to produce” age-verification records, id. 247:13-17, Alper claims that

2257 has prevented her from photographing gay men engaged in anonymous sex in an outdoor

public space on Fire Island. Id. 227:4 – 228:3. Alper’s certainty that this part of Fire Island is

“an adult community,” id. 231:15 – 232:4, is belied by the fact that there is no photo ID check or

any other mechanism for restricting access to it, id. 232:10-23.

        56.    Alper has no special training in determining a person’s age on visual appearance


2
  Alper also suggests that she has taken small number of pictures of people other than her and her
husband engaged in some form of sexual conduct. Alper Testimony, Tr. June 4, 224:13-21;
235:6-12. However, she has provided no further information about these purported images,
including whether they were sold for commercial profit and whether the conduct depicted falls
within the purview of 2257 and 2257A.


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alone. Alper Testimony, Tr. June 4, 238:8-11.

       57.     Alper testified Compliance with 2257 “makes me uncomfortable, because not

only am I publishing pictures of my husband and myself, but I’m also having to give out our

address, because the address of where the records are being stored is my home, our home.”

Alper Testimony, Tr. June 4, 244:15-18. But Alper provides her home address on the Yelp

profile for her photography business. Id.at 248:22 – 249:15.

               3.      David Levingston

       58.     Plaintiff David Levingston is a professional photographer. Levingston

Testimony, Tr. June 5, 83:16-17. He started his career working for newspapers, and then worked

as a photographer and chief of public affairs in military bases until retiring from the federal

government six years ago. Id. at 84:12 - 86:20.

       59.     In 2002, Levingston started focusing on photographing nude women in nature.

Id. at 100:13-15; 87:6-9. Levingston does not believe that either § 2257 or § 2257A applies to

his photographs of nude women in nature, and these statutes have not stopped him from

producing these photographs. Id. at 96:10-11; 121:2-24; Def’s Exs. 91A, 91B, 91C.

       60.     Levingston currently produces no work falling under § 2257 or § 2257A.

Levingston Testimony, Tr. June 5, 100:7-9.

       61.     Although Levingston stated that he “prefer[s] older models,” Levingston

Testimony, Tr. June 5, 88:5, most of his models have been under 29 years old. The identification

cards and model releases that Levingston produced in discovery revealed that 44% of his models

have been under the age of 25, and 60% have been under the age of 29. Def’s Ex. 314. He has

photographed nude models as young as 18 and before they enter college. Levingston Testimony,

Tr. June 5, 117:2-120:18; Def’s Ex. 89A, 89B, 89C, Ex. 90B.



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        62.      Levingston agrees that it is difficult to tell apart a 17 year old from a 19 year old,

and that the way not to confuse 18 year olds and 19 year olds with minors is checking their IDs.

Levingston Testimony, Tr. June 5, 123:16-24.

        63.      Although Levingston occasionally shoots nude women, he is currently focusing

on projects that do not involve nudes. Id. at 100:16 - 101:15.

        64.      Besides producing photographs of nude women in nature, Levingston produced a

small amount of simulated sexually explicit photographs from 2005 to 2009. Id. at 110:25 -

111:3; Def’s Ex. 90C. Levingston claimed that he has stopped producing simulated sexually

explicit photographs after § 2257A took effect on March 18, 2009. Levingston Testimony, Tr.

June 5, 96:7-13. However, he did a sexually explicit photo shoot on November 18, 2009. Id. at

111:4-24; Def’s Ex. 90C.

        65.      In addition, although Levingston claimed that he took down a photograph from

his website because others could interpret is as falling under § 2257A, Levingston does not

believe that this photograph falls under the statute. Levingston Testimony, Tr. June 5, 122:9 -

123:2; Def’s Ex. 90A. 3

        66.      Levingston does not take photographs falling under § 2257A because he is “not

good with record-keeping” and does “not think that he’s capable of maintaining records”

according to the statute. Levingston Testimony, Tr. June 5, 96:24 - 97:4. Moreover, he does not

want to be subject to records inspections because he “can’t be available 20 hours a week” and he

is not “willing to publish [his] home address out there on the internet for any nut job with an AK-

47, who might be offended by what I do, to come attack” him and his family. Id. at 97:5-17.

3
  Levingston said that he is interested in doing a project potentially engaging sexually explicit photographs of
former and current prostitutes about their experience. Levingston Testimony, Tr. June 5, 107:7-12; 98:20-25.
Levingston believes some of these photographs could implicate § 2257A. Id. at 99:1-3. However, the project is in a
conceptual stage, and it is unclear whether it would involve any photographs subject to § 2257A. Id. at 107:18—
108:12.

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Levingston also believes that he has to put a 2257 label on each one of his images. Id. at 97:18-

21.

       67.     Levingston keeps the records associated with her models in his studio in Dayton,

Ohio, id. at 89:3-11. When Levingston is traveling to do photography, the two other

photographers in his studio or his wife, who do not travel with him, could facilitate a records

inspection. Id. at 109:9-20; 110:3-6.

       68.     Levingston keeps IDs and model releases in a drawer in his studio, Levingston

Testimony, Tr. June 5, 110:7-9. He also stated that keeping photographs of his model’s IDs in

his computer is not burdensome. Id. at 110:12-21.

               4.      Barbara Nitke

       69.     Barbara Nitke is a photographer who does still photography for corporate clients

and for television shows and also produces work independently that she exhibits in galleries and

publishes in magazines and books. Nitke Testimony, Tr. June 7, 132:25-134:21. Her

independent work involves depictions of sexually explicit conduct. Id. 134:9-11.

       70.     Nitke has undertaken a number of different independent projects since she began

photographing in 1982 and has undertaken these projects one at a time, in succession. Her first

project involved photographing individuals on adult hardcore pornography film sets, overlapping

with her still photography work for the producers on those film sets. Id. at 135:9-18, 137:23-

138:1. That project continued through around 1991, when the adult hardcore industry moved

from New York to California. Id. at 152:25-153:5. That project resulted in a book, American

Ecstasy, published in 2012. Id. at 145:9-21. Nitke then did similar work on fetish porn movie

sets, until around 1994. Id. at 137:14-138:1, 153:13-19.

       71.     From 1994 until about 2000, Nitke undertook a project, which she calls Kiss of



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Fire, that involved photographing people engaged in BDSM

(bondage/discipline/dominance/submission/sado-masochism) practices. Nitke Testimony, Tr.

June 7, 138:6-10, 139:7-9. For that project, Nitke used black and white film. Id. at 139:20-21.

That project resulted in a book, also called Kiss of Fire, published by a German publisher in

2003. Id. at 134:14-15.

       72.     Her next project, which she called Illuminata, used color film and explored a

different aspect of BDSM practices. Id. at 139:12-22. She continued the Illuminata project from

2000 to 2007. Id. at 139:24-25.

       73.     During that period, in around 2005 or 2006, Nitke shifted over to using digital

photography. Id. at 142:23-24.

       74.     Some of Nitke’s BDMS photographs show people wearing masks or hoods or

other outfits that obscure their face or body, increasing the difficulty that a viewer of the

photograph might have in determining the ages of depicted individuals. Id. at 173:23-174:10.

       75.     From 2008 until the present, Nitke has been engaged in a new project that she

calls Smooth Hotel, involving depictions of light bondage activity. Nitke Testimony, Tr. June 7,

140:24-141:5. Nitke has identified around 20 models as appearing in photographs that she has

taken for the Smooth Hotel project that she believes may implicate 2257. Id. at 155:21-156:7.

Of the Smooth Hotel models for whom age information is available in the record, one is 45 and

the other ten are between 21 and 26. Id. at 158:8-159:14; Def’s Ex. 97. Eight of the 11 (72.7%)

are 25 or younger, and 10 of the 11 (90.9%) are 29 or younger. Id. 4

       76.     Nitke cannot identify the ages of future models she might use. She anticipates

that after she finishes the Smooth Hotel project, she will move on to another project, which may
4
 Nitke also provided information for 19 individuals in the form of identification documents,
model releases, and 2257 forms; for those individuals, 37% were 25 or younger, and 47% were
29 or younger. Def’s Ex. 314 at 3, 314A.

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involve a different group of subjects. Nitke Testimony, Tr. June 7, 155:5-11. Nitke does not

know at this time who might appear in the photographs that she might take in the future as part

of a new, as-yet-undetermined project. Id. at 155:12-13.

       77.     Nitke’s regular model release form does not identify a model’s date of birth.

Nitke Testimony, Tr. June 7, 159:15-23; Def’s Ex. 101. The 2257 form that she uses for

sexually explicit work does include the model’s date of birth. Nitke Testimony, Tr. June 7,

159:24-160:12; Def’s Ex. 100.

       78.     Nitke maintains a website, barbaranitke.com, where she posts photographs from

her different projects, including American Ecstasy, Kiss of Fire, Illuminata, and Smooth Hotel.

Nitke Testimony, Tr. June 7, 160:13-162:1; Def’s Exs. 112A - 112E. Her website contains a

2257 statement listing her business address, which is also her home address, as the location of

her 2257 records. Nitke Testimony, Tr. June 7, 165:18-24. Nitke designates 18% of her

apartment as a home office for tax purposes. Id. at 165:25-166:4.

       79.     Nitke keeps her 2257 records in paper form because she does not know that these

records can be kept in digital form. Id. at 162:8-14. Nitke keeps four sets of 2257 records even

though only one set is required. Id. at 162:15-17, 1563:4-6.

       80.     Instead of simply filing any 2257 records that she produces in her 2257 file at the

time she creates those records, she first files them in her business files and then spends time

locating 2257 records in her business files in order to transfer them to her 2257 file whenever she

uploads a new image onto her website. Id. at 164:8-10, 165:1-5.

       81.     When she removes an image from her website, she removes the 2257 records for

that image from her 2257 file and puts them back in her business files. Id. at 163:24-164:7.

       82.     Nitke also has a cross-referencing system that she does not maintain using a



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digital spreadsheet but instead constructs anew manually on paper whenever she reorganizes her

2257 files. Id. at 149:19-150:6; 164:21-25.

       83.     Nitke wanted to publish a book containing photographs from her American

Ecstasy project along with other sexually explicit photographs that she took after 1995, and for

which she has 2257 records, but she believed that, in order to publish such a book, she would

need to obtain 2257 records for the (pre-1995) American Ecstasy photographs. Id. at 172:1-10.

However, Nitke recognizes that she could publish the same group of photographs in two separate

volumes, and that she can publish photographs from both pre-1995 and post-1995 projects

together on the same website. Id. at 172:11-173:8.

               5.     David Steinberg

       84.     David Steinberg is a photographer who photographs couples in the act of having

sexual intercourse. Steinberg Testimony, Tr. June 4, 121:6-11. His sexual photography is a

source of income for him. Id. at 127:1-8. He has exhibited his work in galleries and published it

in books. Id. at 119:3-12; 120:5-21; 121:18-25; 123:18-24.

       85.     Steinberg testified that there are no objective criteria to determine what is art and

that, despite his intent, his sexually explicit photographs could be sexually arousing. Steinberg

Testimony, Tr. June 4, 148:19-25 – 149:20.

       86.     Steinberg does not restrict his photography to clearly mature models. He testified

that he would take sexually explicit pictures of a couple, both of whom were eighteen years old,

so long as they provided appropriate identification. Steinberg Testimony, Tr. June 4, 139:5-18.

He also testified that he has actually taken sexually explicit photographs of people as young as

19 years old. Id. at 140:9-16. Additionally, Steinberg has also photographed couples having sex

where one half of the couple was mature but the other half was very youthful, for example a 25-



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year-old having sex with a 73-year-old, or a 21-year-old having sex with a 53-year-old. Id. at

142:12-25 – 143:1-18.

       87.     Steinberg has not published or edited a book with sexually explicit materials since

2003. Steinberg Testimony, Tr. June 4, 148:3-8.

       88.     He also testified about a failed project for which he hoped to help publish a

version of a Norwegian magazine which contains sexually explicit material in the United States.

Id. at 110:9 – 111:15. However, as the Court pointed out during testimony, it is not an

infringement on Steinberg’s First Amendment rights to require a foreign company or foreign

photographers to comply with United States laws in order to publish sexually explicit materials

in the United States. Id. at 113:7 – 11.

       89.      Steinberg keeps the hard copies of his Sec. 2257 files in a file cabinet in his

office and he is able to transcribe the information into a database on his computer. Steinberg

Testimony, Tr. June 4, 124:20-25.

       C.      Sex Educators and Sexologists

               1.       Betty Dodson and Carlin Ross

       90.     Plaintiffs Betty Dodson and Carlin Ross describe themselves as sex educators.

Ross Testimony, Tr. June 4, 156:4-5; 194:9-13. Dodson has been a sex educator since the 70s.

Dodson Testimony, Tr. June 4, 194:9-13. Ross has produced several sexually-explicit videos

where women engage in masturbation. Ross Testimony, Tr. June 4, 161:17 - 165:7. Ross

became a sex educator six years ago. Id. at 156:6-7. Previously, Ross practiced law in New York

City. Id. at 156:8 - 157:5. Ross began working with Dodson in 2006. Id. at 157:21-22.

       91.     The ages of individuals depicted in Dodson and Ross’s sexually explicit DVDs

have ranged from 21 to 68. Ross Testimony, Tr. June 4, 160:7—163:18. One of the DVDs they



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produced was “Orgasmic Women,” where several women between the ages of 21 and 25 appear

engaging in masturbation. Id. at 176:12 - 177:4. See Def’s Ex. 116.

       92.     Dr. Francis Biro, an expert in pubertal maturation, examined this DVD and

concluded that two of these young women, Dacy and Ramona, could be confused as minors.

Def’s Ex. 316, p.2.

       93.     The Sinclair Institute sells the video “Orgasmic Women” on their website, where

it is described as featuring a “young (18+) white student climax[ing] with her clit massager …”

Def’s Ex. 124P.

       94.     Dodson and Ross have stopped producing DVDs because this is a “dead

medium.” Dodson Testimony, Tr. June 4, 208: 7-16. Their decision to stop producing DVDs

has nothing to do with § 2257. Id. at 207:4-6.

       95.     Dodson and Ross operate the website www.dodsonandross.com. Ross Testimony,

Tr. June 4, 166:23-25. In this website, Dodson and Ross sell access to sexually explicit video

clips, which range in price from $3 to $30. Id.. at 169:13-16. The website actually shows a

scene of each video clip. Def’s Ex. 117A.

       96.     Ross admitted that she could not tell the ages of the individuals appearing on her

website in which the depictions were of genitals alone. Ross Testimony, Tr. June 4, 179:18 -

180:23.

       97.     Indeed, Dr. Biro noted that there was not enough information in some of these

images to make a reliable estimate of the person’s age. Def’s Exh. 316, p. 3 (see Def’s Ex. 162G

“Male Masturbation with vibrators, and Def’s Ex. 162H “Shelly Celebrating Orgasm).




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       98.     The website also has a sex store where Dodson and Ross sell sex toys, books, and

the sexually explicit DVDs that they have produced over the years. Ross Testimony, Tr. June 4,

162: 10-16; 207:7-13.

       99.     The website also has a section where Dodson answers sex questions submitted by

readers. Ross Testimony, Tr. June 4, 167:7-14. Teenagers between the ages of 14 and 17 have

submitted some questions to Dodson in this section. Id. at 167:20 - 168:8; see Def’s Exs. 45A-T.

Dodson sometimes encourages the readers to buy products for sale on the sex shop. Dodson

Testimony, Tr. June 4, 208:7-16.

       100.    The website also features a Genital Art Gallery (“GAG”), which consists of

images of genitals submitted by the public. Dodson started the GAG in 1998. Ross Testimony,

Tr. June 4, 170:3-5. The purpose of the GAG was to “heal genital shame” by showing a variety

of real genitals. Id. at 170:6-14.

       101.    According to Ross, in “pornographic content, there’s an aesthetic, and the

majority of performers get labiaplasty and they bleach to make things pink.” Id. at 172:4-6.

Dodson stated that procedures such as labiaplastly, which is removing the inner lips of the

vagina, is done in pornography to make women look younger, “reminiscent of a pre-pubescent

girl.” Def’s Ex. 117B; Dodson Testimony, Tr. June 4, 210:7—211:7.

       102.    When Dodson partnered with Ross, they merged their websites and posted the

images of the GAG on their new website (dodsonandross.com). Ross Testimony, Tr. June 4,

173:22—174:4.

       103.    When § 2257 was amended to cover lascivious exhibition of the genitals, Dodson

and Ross believed that all images in the GAG produced after 2009 were subject to § 2257. Ross

Testimony, Tr. June 4, 174:7-9.



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       104.    Due to a technical issue resulting from the merging of Dodson’s and Ross’s

websites to create dodsonandross.com, they could not determine the date of creation of some of

the images in the genital art gallery. Id. at 173:22 - 174:13.

       105.    Although Ross recognized that § 2257 was amended to cover lascivious

exhibition of the genitals, as opposed to all exhibition of genitals, id. at 179:5-17, she and

Dodson decided to remove from the GAG all images for which they could not determine their

date of creation. Id. at 174:14-18. Ross estimated that they removed 1,800 images from the

GAG because they could not determine their date of creation. Id. at 174:19-23. There are

currently between two to three hundred images remaining on the GAG. Id. at 174:21—23.

       107.    Before § 2257 was amended in 2009 to include lascivious exhibition of the

genitals, Dodson and Ross did not require people submitting photos to the GAG to submit a

photo identification; rather, people would only submit a picture of their genitals and an essay.

Ross Testimony, Tr. June 4, 185:11-24.

       108.    The essay guidelines Dodson and Ross provided for people making submissions

to the GAG did not require people to state their age. Id. at 177:22—178:20. See Def’s Exs. 44I,

44J. Ross explained that she relied on the essays and how the genitals looked to determine if the

ages of the people submitting pictures to the GAG. Ross Testimony, Tr. June 4, 177:9-15.

       109.    Dodson and Ross admitted that they cannot determine someone age by just

looking at a picture of that person’s genitals. Ross Testimony, Tr. June 4, 177:19-21, 180:25—

181:13. Moreover, Dodson and Ross admit that it is difficult to determine a person’s age by

visual inspection. Dodson Testimony, Tr. June 4, 209:24—210:6. Indeed, Ross confused a man

28 years of age appearing in one of Plaintiff Steinberg’s sexually explicit photographs with a

minor. Ross Testimony, Tr. June 4, 181:23 - 182:15; Def’s Ex. 36; Def’s Ex. 120C. See



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Steinberg Testimony, Tr. June 4, 147:2-25 (Steinberg admitting man depicted in Def’s Ex. 120C

was 28 years old); ; Pl. Ex. 63, at 7 (shoot 210 involved 28-year-old Irish man); Def’s Ex. 119A

(Irish passport).

        109.    Ross testified that § 2257 is not “burdensome at all” and that she has no problem

complying with it when they produce a film. Ross Testimony, Tr. June 4,. 189:20-23.

        110.    Dodson and Ross object to § 2257’s application to the GAG because they have

received fewer submissions to the GAG when they started asking people to send a copy of their

ID. Id. at 175:7-9. However, in their essay guidelines, Dodson and Ross assure submitters that

they will not publish their names or their e-mail addresses. Id. at 178:10-25. See Def’s Exs. 44I

and 44J.

                2.     Carol Queen

        111.    Plaintiff Carol Queen is a sexologist who is the founder and director of the Center

for Sex and Culture (“the Center”) in San Francisco. Queen Testimony, Tr. June 4, 49:4-6.

        112.    The Masturbate-a-thon is an event that the Center has held almost every year

since 2001. Queen Testimony, Tr. June 4, 77:13-17. Participants in the Masturbate-a-thon

ranged in age from 18 or over to as old as 70. Id. at 67:21-25. While approximately ten to

twelve percent of people who have participated in the Masturbate-a-thon were under 25, id. at

68:4-6, the Center would allow an 18 year old to participate in the Masturbate-a-thon as long as

the individual had appropriate identification. Id. at 79:21-25 – 80:1.

        113.    The Masturbate-a-thon came under the requirements of Sec. 2257, for a time,

because the Center was live streaming sexually explicit content to the internet. Queen

Testimony, Tr. June 4, 64:8-13. However, Queen has described the intent of the live streaming

was to be effervescent. Id. at 78:19-21. These broadcasts were not recorded by the Center



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because there was no intent to permanently capture the images of the participants and no intent to

ever rebroadcast a prior Masturbate-a-thon. Id. at 78:9-25 – 79:1.

       114.    The Masturbate-a-thon has not been live streamed since 2010, not due to any

requirements of Sec. 2257, but rather because the Masturbate-a-thon changed venues in 2011 and

the current venue is not large enough to support a live stream broadcast. Queen Testimony, Tr.

June 4, 77:25 – 78:1-8; 81:12-25 – 82:3.

       115.    Compliance with Sec. 2257 has never prevented Queen or the Center from

hosting a Masturbate-a-thon. Id. at 81:9-11.

       116.    As for the Center’s photo club, Queen testified that the club has been inactive for

a year due to disinterest of the members, not Sec. 2257, and that there are no current plans to

resume the photo club. Id. at 72:2-8; 87:1-15.

       117.    Queen has not composed a piece of erotic art work in a year and a half. Queen

Testimony, Tr. June 4, 87:16-25. This hiatus is also not due to the requirements of 2257, but

rather a lack of time and artistic inspiration on the part of Queen. Id. at 57:22-25 – 58:1-4; 88:1-

20.

       118.    During the Masturbate-a-thon, it takes less than a minute to check a participants

identification. Queen Testimony, Tr. June 4, 2-9. Also, the Center has less than 1,000 pages of

materials related to compliance. Id. at 88:21-25 – 89:1-7. Queen only spends 10-12 hours

annually dealing with Sec. 2257 compliance, and that is only in the years when the Center live

streams the Masturbate-a-thon. Id. at 89:11-18.

       119.    Queen has spent little to no time over the last three years doing anything to

comply with Sec. 2257, as the Masturbate-a-thon has not been on the internet since 2010. Id. at

88:19-24.



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        120.   Queen has never sent a sexually explicit text, nor does she even know anyone

who has sent a sexually explicit text. Queen Testimony, Tr. June 4, 104:1-15.

II.     PREVALENCE OF YOUTHFUL-LOOKING PERFORMERS IN                                SEXUALLY
        EXPLICIT MATERIAL

        A. Youthful-Looking Individuals Who Could Reasonably Be Confused As Minors

121.    People as old as 30 years old could reasonably be confused as minors. Biro Testimony,

Tr. June 17, 56:10-15. Although people between the ages of 25 and 30 would “generally” not be

confused as minors, some could be, especially if they are trying to appear younger. Id. at 67:5-

22.

        122.   People above the age of 25 depicted in sexually explicit material could be

confused as minors, even if they are not trying to appear younger. First, research conducted by

Plaintiff’s own expert, Dr. Daniel Linz, reported that individuals older than 25 depicted in

“barely legal” pornography could be confused for minors:

         Barely legal pornography contains depictions of females who, despite appearing to be
under the legal age of consent, seem particularly sexually suggestive or promiscuous. Though
in reality the models in these depictions are at least 18      years old, previous research in the
alcohol literature has demonstrated that models         who are 25 years old or older can be
perceived as substantially younger than 18 by media consumers.

June 14 Tr. 70:10-21. Second, when Plaintiff Carlin Ross was shown a sexually-explicit

photograph of a 28-year old man taken by Plaintiff Steinberg, without being told the man’s age,

she stated that the man appeared to be 17. Ross testimony, Tr. June 4, 181:23 - 183:20; Def’s

Ex. 36, Def’s Ex. 120C. See Steinberg Testimony, Tr. June 4, 143:25 - 144:24, 146:17 - 148:1

(Plaintiff Steinberg identifying Def’s Ex. 120C as one of his photographs and stating that the

man depicted in the photograph was 28 years old at the time the photograph was taken); Pl’s Ex.

63, p. 7 (showing that shoot 210 involves a 28 year old Irish man); Def’s Ex. 119A (Irish

passport and model release of man depicted in Def’s Exs. 36, 120C, and 168E). Even Dr. Biro,


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who examined the same photograph without knowing the man’s age, could not say with

confidence that the man was over the age of 18. Biro Testimony, Tr. June 17, 39:22 - 40:18

(“There are certain cues that tell me that he should be under 18. There’s certain cues that I have

that tell me that he should be over 18. I am at a loss.”). 5

           123.    The photograph of the man produced by Plaintiff Steinberg that Plaintiff Ross,

and even Dr. Biro, confused with a depiction of a minor is not an example of “barely legal” or

“teen” pornography, and the man was not trying to appear younger. Indeed, Plaintiff Steinberg

photographs “regular people,” as opposed to the “youthful and perfect looking people in

mainstream media” and magazines such as Playboy. Steinberg testimony, Tr. June 4, 137:17—

138:7.

           124.    Images of isolated body parts do not provide enough information for people to

determine a person’s age. Biro testimony, Tr. June 17, 43:8-19; 36:8 – 38:3; 39:8 – 21; Def’s

Ex. 160; Def’s Ex. 162D; Def’s Ex. 162G; Def’s Ex. 316, p. 3.

           125.    Plaintiffs agreed that it is impossible to tell someone’s age by a simple visual

inspection or by a depiction of isolated body parts. Mopsik Testimony, Tr. June 3, 54:2-4.;

Douglas Testimony, Tr. June 3 140:18-22; Queen Testimony, Tr. June 4, 90:19-21; Steinberg

Testiomony, Tr. June 4, 138:24-25 – 139:1; Ross Testimony, Tr. June 4, 177:19-21.

           B. Quantity of Sexually Explicit Material Depicting Young and Youthful Performers

           126.    A substantial amount of the performers for which Plaintiffs produced

identification cards and model releases in discovery are under 25 and under 29 years of age.

           a. Dodson & Ross: 25% of their performers are 25 and under, and 45% are 29 and
              under. Def’s Ex. 314A

           b. Levine: 23.8% of her performers are 25 and under, and 40.3% are 29 and under.
              Def’s Ex. 314A.
5
    Dr. Biro examined Def’s Ex. 168E, which is the same picture in Def’s Ex. 120C and Def’s Ex. 36.

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       c. Levingston: 44% of his models are 25 and under, and 60% are 29 and under. Def’s
          Ex. 314A

       d. Morey (ASMP): 61.2% of his models are 25 and under, and 86.6% are 29 and under.
          Def.’s Ex. 314A.

       e. Nitke: 36.8% of her performers are 25 and under, and 47.3% are 29 and under. Def’s
          Ex. 314A.

       f. Sinclair Institute: 21.1% of its performers are 25 and under, and 34% are 29 and
          under. Def’s Ex. 314A. In addition, 10% of performers are between 18-20, and 30%
          are in their twenties. Wilson testimony, June 4 Tr. 5:4-18.

       g. Vivid Video (FSC): 41% of its performers are 25 and under, and 57.3% are 29 and
          under. Def’s Ex. 314A.

       h. Connors (FSC): 47% of his performers are under 25. Def’s Ex. 48.

       127.   The Sinclair Institute, as a secondary producer, sells many videos depicting young

and youthful looking individuals who could be confused as minors. Def’s Exs. 124-126.

       128.   Dr. Biro concluded that roughly half of the 150 images from Plaintiffs that he

examined were of individuals “in their twenties or younger.” Biro Testimony, Tr. June 17,

24:17—25:7.

        129. David Connors (FSC), Craig Morey (ASMP), Ned Rosen (ASMP), David

Levingston, Barbara Nitke, David Steinberg, Sinclair Institute, and Dodson & Ross have

produced depictions of individuals who could be confused as minors. Def’s Ex. 316.

        130. Barbara Alper, Dodson & Ross, Marie Levine, David Levingston, Barbara Nitke,

David Steinberg, and the Sinclair Institute, have produced depictions where there is not enough

information to make a reliable estimate of the person’s age. Def’s Ex. 316.

        131. Across all genres of pornography, the overriding image is of a youthful looking

woman. Dines testimony, Tr. June 7, 41:9-11.




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         132. Countless sexually-explicit images from a wide array of sources, including

images produced by Plaintiffs and FSC and ASMP members, depict young and youthful-looking

performers who could be reasonably confused as minors. 6

         133. Even in the category of MILF pornography, which focuses on depicting older

women, the predominant images are of young men and women engaging in sexual activities with

older women. Dines testimony, Tr. June 7, 52:8-20.

         134. MILF pornography, and other pornography dedicated to older individuals, often

includes young and youthful looking individuals who could be confused for minors.

         a. Plaintiff Sinclair Institute, a member of the Free Speech Coalition, sells many
            sexually explicit videos depicting older adults engaged in sexual relations with teens
            and other youthful looking individuals. See Def.’s Ex. 124-126.

         b. Two other members of the Free Speech Coalition, David Connors and Plaintiff
            Marie Levine, often perform with teens and young adults (under 25). Def’s Exs.
            85C, 87, 88, 169, 170, 172, 306, and 307.

         c. Websites that Plaintiffs provided to show a prevalence of mature performers in
            pornography (i.e. “mature/granny porn”) depict younger individuals having sex with
            these mature performers. See Def’s Ex. 234 (moms bang teens); Def’s Ex. 260-284.

        135.     One of the categories in pornography primarily devoted to depicting very young

individuals (between the ages of 18-20) is “teen porn.” Linz testimony, Tr. June 14, 68:9-14.

        136.     A search for the term “teen” across the three most popular and trafficked

pornographic sites in the United States (Pornhub, XNXX, and Redtube), revealed that 27% of the

6
  See Def’s Exs. 31-32 (Morey screenshots Part I); 33A-J (Rosen screenshots); 47 (Conners DVD covers); 85A-C
(Cougarscravekittens); 86B-D (sites linked to nina.com); 87 (Redtube); 124-126 (Sinclair Institute videos); 128
(Adam & Eve videos); 129 (Sinclair Institute catalogues); 229A, 229D (18xgirls); 229B-229C, 231A-231G (First
Time Video girls); 230 (bitchcrawler); 233A-233D (lethalpass); 234 (moms bang teens); 235 (Pornhub screenshots);
236A (AVN screenshots); 236C (Porn XXX facebook page); 236D (pornstars models facebook page); 236E
(Wicked facebook page); 289 (All Good Video screenshots); 291A-E (Bacchus – Filmco videos); 292A-C
(Adult.com videos); 293A-C (Darkside Entertainment screenshots); 294A-G (Diabolic screenshots); 295A-I (Don
Goo screenshots); 296 (Erotic Angel dba K-Beech screenshots); 297A-C (Evasive Angel screenshots); 298A-D
(Ghost Pro – Fifth element screenshots); 299A-B (JT Video screenshots); 300 (Moonlight Entertainment
screenshots); 300 (Moonlight Entertainment screenshots); 301 (Private dba Pure Play media screenshots); 302
(Robert Hill screenshots); 303 (RWG screenshots); 304 (Shane’s World screenshots); 305A-C (Wicked
screenshots).

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pages in these sites were tagged as containing teen porn, and 34% were tagged with teen or an

allied term (young, college, schoolgirl, and daughter). Dines testimony, Tr. June 7, 61:9 - 63:11;

Def’s Ex. 182. In comparison, 22.7% of pages were tagged with the term “MILF.” Id. “Teen”

was the top porn genre as determined by this search. Id.

       137.     A search using the Search Engine Optimization (SEO) Website found that “teen

porn” and allied terms constitute almost half of the web searches for “porn,” while searches for

“MILF” constitute slightly less than a third of all searches for porn. Def’s Ex. 180; Dines

testimony, Tr. June 7, 53:15—58:17.

       138.    A search conducted in Google trends revealed that searches for “teen porn” have

grown 215% from January 2004 to February 2013, whereas searches for “MILF” have actually

decreased 17.4% over the same time period. Def.’s Ex. 183; Dines testimony, Tr. June 7, 65:2-

12.

       139.    Pornmd.com, a website from the pornography industry, reports that the top porn

search terms in the United States are “MILF,” “teen,” and “college,” and that “teen” is the top

search term in 13 states. Def’s Ex. 175; Dines testimony, Tr. June 7, 65:5 - 66:18.

       140.     Teen porn is extremely popular. Linz testimony, Tr. June 14, 64:15-18.

       141.    The number of images associated with “teen porn” (16,800) in Pornhub.com, the

most popular pornographic site in the United States, is more than the amount of images

associated with “MILF” (6,974) and “mature” (2,019) porn combined. Linz testimony, Tr. June

14, 63:5—64:11.

       142.    “It’s not uncommon to see women who have recently reached the age of majority

in adult films.” Levine testimony, Tr. June 5, 58:2-5




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       143.    Levine has performed with several teens and other youthful-looking individuals.

Levine testimony, Tr. June 5, 57:2-8; Def’s Exs. 85C, 87, 306, 307.

       144.    Based exclusively on a division of the Google hits for the term “teen porn”

(136,000,000) by the term “porn” (1.3 billion), Dr. Linz opined that 10% of pornographic

material constitutes “teen porn.” Linz testimony, Tr. June 14, 27:6-23.

       145.    Dr. Linz’s methodology is not reliable because the number of Google hits for the

term “porn” includes books, articles, blogs, and other items that may contain no sexually explicit

images. Linz testimony, Tr. June 14, 48:5 - 53:2. See also Dines testimony, Tr. June 7, 60:15-25

– 61:1-3. (Dines explaining a search for the term porn would gather many things that do not

contain images).

       146.    Linz did not estimate the proportion of actual “teen porn” images in relation to

“porn” images. Linz testimony, Tr. June 14, 52:14-17.

       147.    Linz’s calculation is not reliable because the number of Google hits for the terms

“teen porn” and “porn” can vary significantly, leading to a significantly different proportion of

“teen porn” Google hits. Def’s Ex. 192.

       148.    The pornographic websites that Dr. Dines used to arrive at her estimate that 34%

of pornographic material on those sites was comprised of “teen porn” (Pornhub, Redtube, and

XNXXX) primarily contain sexually explicit images and will not include scholarly articles or

news reports. Def’s Ex. 182; Dines testimony, Tr. June 7, 61:6-25 – 65:1; Linz testimony, Tr.

June 14, 62:2—63:4.

       149.    Across all genres of internet pornography, the predominant image is one of a

youthful looking woman. Dines testimony, Tr. June 7, 41:5-16; 42:24-25 – 43:1-8.




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       150.    “Teen porn” is only a subset of the sexually-explicit material depicting young and

youthful looking performers who could be confused as minors. Dines testimony, Tr. June 7,

44:17-25 – 45:1-17. Young and youthful-looking individuals are prevalent in MILF porn. Dines

testimony, Tr. June 7, 52:8-20; See Def.’s Ex. 124-126; Def’s Exs. 85C, 87, 88, 169, 170, 172,

234, 260-284, 306, and 307. In addition, individuals older than teens could be confused for

minors. Biro Testimony, Tr. June 17, 56:10-15, 67:5-22; Linz testimony, Tr. June 14, 70:10-21;

Ross testimony, Tr. June 4, 181:23 - 183:20; Steinberg testimony, Tr. June 4, 143:25 - 144:24,

146:17 - 148:1; Biro testimony, Tr. June17, 39:22—40:18.

       C. Child Pornography is Vast and Has Ties to Legitimate Adult Websites

               a. Janis Wolak

       151.    Child pornography can be transmitted or posted any way that a photograph can,

e.g., email, image boards, commercial websites and internet applications. Wolak Testimony, Tr.

June 11, 27:21-25 – 28:1-6.

       152.    Based on research done by the Crimes Against Children Research Center,

approximately two thirds of people arrested for possession of child pornography have images of

children in the 13-17 year old range. Id. at 30:8-11. Additional research performed in 2009

revealed that 70 percent of child pornography victims were adolescents. Id. at 32:1-6.

       153.    The Child Victim Identification Program at the National Center for Missing and

Exploited Children has determined that approximately 50 percent of the victims it has been able

to identify were photographed as adolescents. Id. at 43:13-23.

       154.    Child pornography has been linked to legitimate commercial adult websites. Id.

at 46:22 - 47:1-17.




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       155.    Research done by the Crimes Against Children Research Center has revealed

young adolescents (13 and 14 year old girls) have been lying about their age and advertising

themselves on adult dating websites like Adult Friend Finder. Id. at 81:8-14.

               b. Dr. Daniel Linz

       156.    Plaintiff’s expert, Dr. Linz, has never been qualified as an expert to testify about

the prevalence of child pornography or of youthful-looking performers in pornography. Linz

Testimony, Tr. June 14, 41:25—43:7.

       157.    Linz has not previously conducted research on the quantity of child pornography

depicting adults vs. the quantity of child pornography. Id. at 44:23 - 45:8.

       158.    Linz has not previously conducted research on the proportion of child

pornography that depicts older adolescents. Id. at 45:9-16.

       159.    Linz has not previously conducted research on the proportion of pornography

depicting individuals who could be confused as minors. Id. at 45:23-46:6.

       160.    Linz has not previously conducted research on the quantity of private, non-

commercial sexually explicit expression. Id. at 46:7-18.

       161.    Linz testified that 99% of pornographic material is not child pornography. Linz

testimony. Id. at 24:13-14.

       162.     Linz’s testimony that 99% of pornographic material is not child pornography is

unreliable. This estimate is primarily based on the division of Google hits for “child pron”

(3,090,000) by the number of Google hits for “porn” (1.3 billion).    Id. at 53:16-23; 15:25 - 16:3,

19:23 - 20:2. Conducting a Google search for “child pron” would not identify actual child

pornography images available online. The Google hits for “child pron” included Wikipedia

pages and articles about arrests for child pornography. Id. at 17:22 - 18:4. People maintaining a



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web page with child pornography will not tag that page as containing child pornography. Id. at

55:19—56:16. People looking for child pornography online would use terms other than “child

porn.” Id. at 56:2—57:14. Linz’ calculation does not include child pornography in peer-to-peer

networks. Id. at 57:21-24.

       163.   Child pornography is continually produced, swapped and traded in almost every

community in the United States, primarily via the Internet. Linz Testimony, Tr. June 14, 60:12-

18; Def’s Ex. 194.

       164.   There is a connection between commercial and homemade child pornography.

Often, homemade child pornography is sold or traded and winds up on commercial child

pornography websites or in magazines, movies and videos. These visual images are often

reproduced and circulated again and again, sometimes for profit. Linz Testimony, Tr. June 14,

60:19—61:1.

       165.   Child pornography can be transmitted through every medium that could be used

to transmit any sexually explicit image. Id. at 64:19—65:14.

       D. Pubertal Maturation

       166.   Girls complete pubertal maturation between the ages of 14 and 16. Biro

Testimony, June 17 Tr. 15:12-16. However, girls and boys are maturing at a younger age. Biro

Testimony, Tr. June 17, 15:14—16:20.

       167.   Pubertal maturation occurs before the prefrontal cortex of the brain fully matures.

Biro Testimony, Tr. June 17, 22:7—23:3. The prefrontal cortex is the executive part of the brain

that modulates emotions. The disparity between pubertal maturation and brain development can

lead teenagers to adopt risky sexual behaviors. Biro Testimony, Tr. June 17, 23:8—24:16.




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         168.   It is difficult for experts in pubertal maturation to determine someone age by

visual inspection. Biro Testimony, Tr. June 17, 17:21—18:19.

         169.   Among maturation experts, there is a degree of uncertainty of approximately 1 to

3 years in determining the age of teenagers. Biro Testimony, Tr. June 17, 18:23-25. In young

adults, the degree of uncertainty is 2 to 5 years. Biro Testimony, Tr. June 17, 18:23—19:2.

These degrees of uncertainty would be larger for people without training and experience in

maturation assessment. Biro Testimony, Tr. June 17 19:23—20:24. These degrees of

uncertainty could be larger if people try to make themselves look younger or older. Biro

Testimony, Tr. June 17, 53:12-22, 67:5-22. Race and ethnicity may also increase the uncertainty

in trying to determine someone’s age. Id. 32:18-20.

         170.   Factors that can be used to assess a person’s age by visual inspection include

maturation stage, height, body composition, body fat distribution, skin elasticity, wrinkles, hip to

waist ratio, and changes in a person’s face. Biro Testimony, Tr. June 17 17:2—18:19; 26:23—

27:12.

         171.   It would be very difficult for average people without training and experience in

maturation assessment to reliably assess the factors that can be used to determine someone’s age

by visual inspection. Biro Testimony, Tr. June 17, 27:13-17.

         172.   Children 12 to 14 years old who are fully physically mature can appear to be in

their late teens or early twenties. Biro Testimony, Tr. June 17, 21:9-16.

         173.   Teenagers 15-16 could make themselves appear over 18. Biro Testimony, Tr.

June 17, 21:17-21.

         174.   People 25 years of age can make themselves appear under 18. Biro Testimony, Tr.

June 17, 21:24—22:6.



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        175.     The requirement that producers of sexually explicit depictions check the ID of

their performers to ensure that they are over 18 is a good mechanism to deal with the uncertainty

in determining someone’s age by visual inspection. Biro Testimony, Tr. June 17, 41:10-25;

67:23—68:1.

        176.     If producers of sexually-explicit material only had to check the identifications of

performers who looked to be under a certain age, it would be difficult for producers to ascertain

whether the performers are under that cut-off age. Biro Testimony, Tr. June 17, 43:8-22.

        III.     PUBLICLY-AVAILABLE DEPICTIONS OF SEXUALLY-EXPLICIT
                 CONDUCT

        177.     Linz testified that there are many sexual images being transmitted by adult

through adult sites. Linz Testimony, Tr. June 14, 65:15-18

        178.     Linz does not know the proportion of images transmitted by adults through adult

sites that would fall under § 2257 or § 2257A. Id. at 65:19—66:13.

        179.     Linz does not the proportion of people sending sexual images through adult sites

that are making money from those images. Id. at 66:14-21.

        180.     There are minors in adult dating sites, such as Friend Finder, that pose as adults.

Id. at 74:5-8.

        IV.      DEPICTIONS OF SEXUALLY-EXPLICIT CONDUCT IN “PURELY
                 PRIVATE” COMMUNICATIONS

        181.     SSA Lawrence explained there would be no practical way for the government to

identify individuals who had created a sexually explicit videotape or photograph for their own

private use, in order to determine whether such individuals were complying with the 2257

requirements or not. Lawrence Testimony, Tr. June 11, 96:18-98:5.

        182.     E-mailing a sexually explicit image to a partner or spouse, or sending such an



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image by text message, would not make it any more feasible to include such images within the

scope of any government compliance efforts, such as 2257 records inspections. Id. Only if such

an image were posted on the Internet, and were thus available for viewing by individuals other

than an intimate partner or spouse, would it be likely that the government might become aware

of such images. Id.



       V.      SEXTING

       183.    Dr. Michelle Drouin is an associate professor of psychology at Indiana

University, Purdue University, Fort Wayne (IPFW). Drouin Testimony, Tr. June 3, 144:2-8.

       184.    She estimated that approximately one-third of young adults nationwide ages 18-

24—or 10.2 million young adults, based on recent census data—have sent a text message

involving a sexually explicit visual depiction. Id. at 165:7-16.

       185.    Drouin reached this estimate by relying on two sexting studies she conducted

using students enrolled in introductory psychology classes at IPFW, id. at 152:14 – 153:13;

159:1 – 162:9, as well as four other studies she did not conduct herself, id. at 163:23 – 164:3.

These studies defined sexting in a variety of non-uniform ways. See, e.g., Def.’s Ex. 187 at

001876 (reporting number of respondents “involved in some type of naked sexting”); Def.’s Ex.

188 at 001886 (defining “sexually suggestive” images to mean “semi-nude or nude personal

pictures”); Def.’s Ex. 189 at 001902 (defining sext as “a sexually suggestive nude or nearly

nude” image); Def.’s Ex. 190 at 001908 (asking whether respondents had sent “erotic or nude

photographs”); see also Drouin Testimony, Tr. June 3, 166:16 – 167:23; 168:5-19; 170:5-12;

172:5-14; 174:1-12; 175:16-21.

       186.    Drouin did not define the phrase “sexually explicit” for purposes of her estimate,



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and she testified that the phrase encompasses all of the various definitions from the six studies

she considered. Drouin Testimony, Tr. June 3, 176:18-24.

       187.    Only one of the studies Drouin considered attempted to ascertain the number of

respondents who had sent images based on the type of content depicted, such as images of

intercourse, masturbation, only breasts, or only cleavage. Id. at 166:16 – 167:23.

       188.    For the remaining five studies, Drouin does not know the proportions of

participants who sent images containing these types of content. Id. at 168:12-22; 170:16 –

171:3; 172:18 – 173:1; 174:13-21; 175:22 – 176:10.

       189.    Drouin cannot identify the proportions of young adults included in her estimate by

the type of content depicted, including images of intercourse, masturbation, only breasts, or only

cleavage. Id. at177:4-13.

       190.    Drouin’s estimate also included people who had sent images of persons other than

themselves, people who had sent images to multiple recipients, and people who sent images to

people other than those who were in or had been in a romantic relationship at the time the image

was sent. Id. at 177:14 – 179:15.

       191.    Although the prevalence rates for sexting from the six studies she considered

ranged from 20% to 54%, Drouin arrived at her estimate of approximately one-third because it

was where she believed there was a convergence of the evidence. Id. at 181:13-23. In so doing,

Drouin did not perform any calculations, meta analyses, or weighting of the data; instead, she

“look[ed] at the results to see if they converge[d]” and “tried to see what [the studies] said

collectively.” Id. at 181:24 – 182:24.

       192.    Drouin testified that her use of the word “approximately” does not constitute a

statistical margin of error nor is there any number range associated with it. Id. at 189:7-17.



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       193.    Dr. Marc Zimmerman is the chair of the Department of Health Behavior, Health

Education at the University of Michigan. Zimmerman Testimony, Tr. June 12, 131:10-15.

       194.    Zimmerman estimated that 30% of young adults ages 18-24, or 9 million people,

have sent sext messages with images, and that 41% of people in the same age group, or about 12

million people, have received such images. Id. at 144:2-13.

       195.    Zimmerman’s estimate is primarily based on a study he helped conduct using

respondent-driven sampling (RDS), whereby the initial participants were recruited via online

advertisements on the Facebook website and were rewarded with gift cards both for taking a

survey and for recruiting other people to partake. Id. at 139:8-16.

       196.    Despite stating in his study that the results of his survey “may not be

generalizable to the population as a whole,” id. at 158:21 – 159:3, Zimmerman justified the

participants he recruited using RDS as being nationally representative because he weighted the

sample size and because the prevalence rates for certain types of drug use from his sample were

similar to the rates from a national study. Id. at 140:6-18; 142:7-24.

       197.    Zimmerman compared the results of his study with the results from two other

studies, including one that measured the prevalence of sexting among 763 students enrolled in

undergraduate psychology classes at a public university in the mid-Atlantic region. Id. at 151:19

– 152:1. Noting that his “sampling approach is not perfect, for sure,” Zimmerman offered to

discount his estimate by 50 % to demonstrate that the number of young adults sending or

receiving sext messages with images is still large. Id. at 144:22 – 145:2.

       198.    To measure the prevalence of sexting, Zimmerman asked respondents whether

they sent a “sexually suggestive nude or nearly nude photo or video of themselves to someone

else.” Zimmerman Testimony, Tr. June 12, 146:23 – 147:2. The study did not further define



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“sexually suggestive” or “nearly nude.” Id. at 147:2-10.

       199.     The two other sexting studies to which Zimmerman compared the results of his

survey defined sexting differently. Id. at 149:13-22 (defining “sexually suggestive pictures or

videos” as “semi-nude or nude personal pictures/video taken of oneself and not found on the

internet or received from a stranger (like spam), etc”). Id. at 150:19-24 (defining sexting as

“sending or receiving sexually explicit or suggestive photos via text message”).

       200.     Given these definitions, Zimmerman does not know from any of the surveys how

many respondents sent or received images of intercourse, how many had sent or received images

of masturbation, how many had sent or received images of only breasts, and how many had sent

images of only cleavage. Id. at 147:11-23; 149:23-9; 151:7-18.

       201.     Zimmerman’s study also was not limited to people who were in romantic

relationships and did not exclude people who sent images to multiple recipients. Id. at 147:24 -

148:14. Nor did his study measure how frequently respondents sent images by text message. Id.

at 148:15-17.

       202.     Dr. Philip Stark is the chair of the Department of Statistics at the University of

California, Berkeley, and an accredited professional statistician. Stark Testimony, Tr. June 17,

71:23-25; 73:6-13.

       203.     Stark testified that there are three key elements to making a reliable estimate

about the prevalence of something: (1) a sampling frame—the segment of the population from

which a sample is drawn—that significantly overlaps with the population that is being studied;

(2) a random sample, which involves deliberately introducing randomness into selecting the

sample; and (3) a high response rate from participants. Id. at 77:10 – 81:25.

       204.     Dr. Stark testified that Drouin had no statistical basis for her estimate regarding



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the prevalence of sexting because none of the six studies she relied upon were reliably

representative of the national population. Id. at 83:19 – 86:4.

        205.    According to Stark, the three studies she relied upon consisting of students

enrolled in undergraduate psychology classes were likely not representative of all students in the

same class, let alone other students at the same university or other universities. Id. at 84:1-25.

        206.    Stark testified that another study relied upon by Drouin similarly was not national

representative, noting that it had two disclaimers stating that it was not a probability sample. Id.

at 88:10-23.

        207.    Furthermore, Stark noted that the lack of a consistent definition of sexting among

the six studies “complicates the matter of making an estimate” because some studies might be

more inclusive than others. Id. at 87:2-8.

        208.    Stark testified that Zimmerman’s estimate was equally flawed describing

Zimmerman’s RDS method of recruiting participants as a non-random form of a sample of

convenience similar to “fish[ing] for candidates . . . with $20 bills.” Stark Testimony, Tr. June

17, 89:12-22.

        209.    Stark noted the fact that the prevalence rates for drug use from Zimmerman’s

sample were in many respects similar to those in a national study did not have any bearing on

whether his sample was nationally representative in the context of sexting. Id. at 90:7 - 91:6

(“[T]he fact that [the study] agrees on one measure, doesn’t give you confidence that it agrees on

other measures.”).

        210.    Stark rejected Zimmerman’s assertion that weighting the data from his study

made it more nationally representative. Id. at 91:12-18 (“The fact that the demographics didn’t

match in the first place, is an indication that his sample wasn’t . . . representative of . . . U.S.



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young adults.”); id. 19-25 (“[M]atching the demographics doesn’t give you any kind of

guarantee that you match on the characteristic . . . that you care about . . . .”).

        211.    Stark countered the notion that Zimmerman’s offer to discount his estimate by

50% should increase the confidence in that figure, observing that because Zimmerman lacked a

random sample to begin with, “there’s no way to know how much you have to discount it in

order to get a conservative estimate of the rate of sexting.” Id. at 92:6-18.

        VI.  THE DIFFICULTY OF FORMULATING AN EXCEPTION TO THE
        UNIVERSALLY-APPLICABLE 2257 REQUIREMENTS THAT DOES NOT
        INTRODUCE SUBJECTIVITY OR ALLOW FOR CIRCUMVENTION

        212.    Imposing a specific age as a cut-off point beyond which producers would not be

required to comply with 2257 requirements would itself introduce difficulties and inefficiencies

into the regulatory scheme. Lawrence Testimony, Tr. June 11, 162: 8-12.

        213.    When creating the pre-inspection reports, it is possible to find performers whose

faces do not appear in the sexually explicit video selected for inspection, thus they would be

listed as unidentified female or male. Id. at 162:13-17. The pre-inspection report would, thus,

not be able to identify whether the unidentified individual was over or under a specific cut-off

age, e.g., 25 years old. Id. at 162:18-21.

        214.    If an inspection team asked a producer to provide records for the unidentified

performer without the facial image, the producer could claim the performer was over 25, and,

therefore, it was unnecessary to keep records on that individual. Id. at 162:22-25. In that

instance, the inspectors would have no way to verify the age of the performer since the

information was not collected. Id. at 162:25 – 163:1-2; 164:4-12. This could lead to disputes

between the inspection team and the producer. Id. at 167:7-9.

        215.    A system with a cut off age would like lead to longer, more difficult inspections,



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and likely force producers to provide more documentation. Id. at 167:14-17.

       216.     Even pushing the age cut-off as high as 30 or 40 could still create difficulties and

loopholes as some ethnicities can appear much younger than they actually are. Id. at 164:13-21;

165:2-9.

       217.     Universal application of 2257 simplified the inspection process and provided

consistency for producer, who knew exactly what records they were responsible to maintain. Id.

at 166:13-22.

       VII.     THE 2257 RECORDS INSPECTION PROGRAM OF 2006-2007

       A.       Beginning and Termination of the 2257 Records Inspection Program

       218.     In 2006, the FBI was tasked to set up and operate a program to conduct periodic

regulatory inspections of producers’ 2257 records. June 12 Tr., pp. 66:23-67:11. Pursuant to that

program, 29 inspections occurred between July 24, 2006, and September 19, 2007. Def’s Ex.

228. In September 2007, the inspection team was directed to cease inspections due to the Sixth

Circuit panel decision in Connection Distributing Co. v. Holder. Lawrence Testimony, Tr. June

11, 149:14-22; Joyner Testimony, Tr. June 12, 96:1-4. In February 2008, the inspection program

was terminated. Joyner Testimony, Tr. June 12, 96:5-7. The record contains no evidence of any

plan either to resurrect a 2257 records inspection program that might be similar to the previous

one or to establish a different form of regulatory 2257 records inspections. Joyner Testimony, p.

96:16-18.

       B.       A Prior Version of the Regulations Was in Effect in 2006 and 2007

       219.     The regulations in effect during the existence of the 2257 inspection program

were those issued in 2005. 70 Fed. Reg. 29607, 29619 (2005) (promulgating amendments to 28

C.F.R. §§ 75.1 et seq.). The regulations implementing the statutory changes made by the 2007



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Adam Walsh Act had not yet been issued. See 73 Fed. Reg. 77432 (issuing revised regulations at

28 C.F.R. §§75.1 et seq. to implement Adam Walsh Act amendments on December 18, 2008).

The FBI checklists that were prepared and used during these inspections were based on the 2005

regulations. Compare Def’s Ex. 225 (citing regulatory provisions), with 70 Fed. Reg. 29607,

29619 (2005).

       C.       Scope of Producers Subject to Inspection in 2006 and 2007

       220.     The producers whose 2257 records were potentially subject to inspection under

the 2006/2007 program were limited to primary producers who were part of the commercial

adult entertainment industry. Lawrence Testimony, Tr. June 11, 91:19-92:20, 93:23-94:5; Joyner

Testimony, Tr. June 12, 69:7-11. All 27 producers that were inspected during the time the 2257

inspection program was operating were companies in the adult industry, though some had gone

out of business or been sold to other companies before the inspection occurred. Def’s Ex. 228;

Pl. Exs. 1-29. Secondary producers were not included. Tr. June 11, 92:1-20; Tr. June 12, 69:12-

23.

       221.     “Lascivious exhibition of the genitals or pubic area” was not covered by 2257

until after the 2008 regulations were promulgated. See 73 Fed. Reg. at 77433. Thus, depictions

of erotic nudes were not included. Lawrence Testimony, Tr. June 11 94:3-5; Joyner Testimony,

Tr. June 12, 70:1-4. Depictions of simulated, as opposed to actual, sexually explicit conduct

were also not included. 73 Fed. Reg. at 77435. Professional photographers outside of the adult

industry were not included. Lawrence Testimony, Tr. June 11, 94:6-25; Joyner Testimony, Tr.

June 12, 70:5-25.

       222.     Individuals who may have posted images on adult dating websites or social

networking websites were not included. Lawrence Testimony, Tr. June 11 p. 95:17-96:3; Joyner



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Testimony, Tr. June 12, 71:12-16.

       223.    The FBI agents who attempted to compile a list of producers subject to 2257

records inspections during this period were unaware of the existence of Internet tube sites in

2006 or 2007 and made no attempt to include material from such sites on their list. Lawrence

Testimony, Tr. June 11, 95:1-16; Joyner Testimony, Tr. June 12, 71:6-11. 7 Individuals who

made videos of themselves for their own private use were not included. Joyner Testimony, Tr.

June 12, 71:17-20.

       224.    By the time the 2257 inspection program ended in 2008, around 1200 producers

had been identified as meeting the specified criteria and subject to records inspections, but there

was a possibility that up to 1.2 million more producers—all on the Internet—might have been

added to the list if the program had not ended. Lawrence Testimony, Tr. June 11, 98:14-99:17. It

is unknown how many more producers might have been added to the list if the 2257 inspection

program had continued to operate during the five years from 2008 until the present. There is no

indication in the record of how the inspection program might have changed if the number of

producers had increased so substantially, or if producers other than members of the commercial

adult industry had been included. The Court has recognized that the question of what would have

happened if the program had continued is a matter of speculation. Tr. June 11, 102:9-10.

       D.      Inspection Procedures

       225.    Throughout the existence of the 2257 records inspection program, the inspection

team made every effort to accommodate and minimize burdens on producers. Pl. Exs. 1-29. The

first lead inspector assigned to the program, Supervisory Special Agent Joyner, went so far as to

speak on a panel at a conference organized by one of the major adult industry trade media outlets
7
 The record does not indicate whether tube sites containing pornography existed in 2006 or
2007, or to the extent they existed, how they compared to the large pornography tube sites in
existence today.

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in an attempt to alleviate the adult industry’s concerns once the inspections began. Joyner

Testimony, Tr. June 12, 91:15-18, 92:2-6, 92:14-93:5. Two meetings were also convened at FBI

Headquarters in Washington, DC, where members of the adult industry had the opportunity to

meet and communicate with FBI officials regarding the inspection process. Joyner Testimony,

Tr. June 12, 91:6-92:1.

       226.    As it existed in 2006 and 2007, the 2257 records inspection program operated by

using a random number generator to select the producers to be inspected from a list, which the

FBI had compiled and continued to expand. Joyner Testimony, Tr. June 12, 68:6-14. The

inspections were meant to be separate from any investigational activity of the FBI. Joyner

Testimony, Tr. June 12, 67:24-68:2-5.

       227.    In carrying out 2257 records inspections, the inspection team followed written

checklists that set forth procedures and specified the regulatory requirements so that the

contractors reviewing the records could verify 2257 compliance. See Lawrence Testimony, Tr.

June 11, 102:19-105:7; Joyner Testimony, Tr. June 12, 72:10-12; Def’s Exs. 224, 225.

       228.    Once a producer was selected for inspection using a random number generator,

the team would obtain a sample of material from that producer that was subject to 2257. Joyner

Testimony, Tr. June 12, 72:7-12. The team would then use that sample to undertake a pre-

inspection review process in order to verify that that producer was subject to 2257; identify the

location where the producer’s 2257 records were located, based on the 2257 label that was

supposed to appear on a DVD or website; and prepare a list of specific records that the team

wanted to review during the inspection. Lawrence Testimony, Tr. June 11, 105:8-106:12; Joyner

Testimony, Tr. June 12, 72:10-73:6; Def’s Ex. 225.

       229.    This process was intended to “minimize the time [the team] spent in conducting



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an actual onsite inspection and minimize any interference with the producer’s business.”

Lawrence Testimony, Tr. June 11, 106:13-15; accord Joyner Testimony, Tr. June 12, 72:22-

73:2.

         230.   When the inspection team was able to locate a producer’s records based on the

address information contained in the producer’s 2257 label, the team would typically initiate an

inspection at that address without advance notice. At the outset of an inspection at a producer’s

business premises, the lead inspector would enter the reception area of the premises, explain why

the team was there, and provide the producer with the list of records that the team wanted to

inspect. Lawrence Testimony, Tr. June 11, 107:8-108:4-10, 144:12-145:11; Joyner Testimony,

Tr. June 12, 74:23-75:21. The reception area of a business was a space that was open to the

public. Joyner Testimony, Tr. June 12, 75:6-11; Lawrence Testimony, Tr. June 11, 145:3-11.

         231.   Beginning sometime in March 2007, the lead inspector would usually hand a

letter to the producer when initiating an inspection. Joyner Testimony, Tr. June 12, 75:24-25.

The lead inspector did not recite the contents of the letter, and there is no evidence in the record

indicating that any producer read the letter before agreeing to allow the records inspection to

proceed, or that the letter had any visible impact on the producer’s willingness to allow the

inspection. Joyner Testimony, Tr. June 12, 77:17-78:12, 79:3-10. No producer indicated that he

thought the FBI should obtain a warrant before proceeding with the records inspection.

Lawrence Testimony, Tr. June 11, pp. 147:7-13, 177:9-13. Joyner Testimony, Tr. June 12,

78:13-16. No producer expressed any reluctance to allow the records inspection to proceed.

Lawrence Testimony, Tr. June 11, 147:14-18; Joyner Testimony, Tr. June 12, 78:17-19.

         232.   The lead inspector would then ask the producer where the producer wanted the

team to set up to conduct the review of 2257 records. Lawrence Testimony, Tr. June 11, 107:20-



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22, 114:5-8, 140:11-18; Joyner Testimony, Tr. June 12, 77:14-16. The team would set up in that

location. Lawrence Testimony, Tr. June 11, 114:9-22; Joyner Testimony, Tr. June 12, 79:12-15.

In several instances, the producer indicated that the inspection team should review 2257 records

while remaining in the reception area of the business, and the team did so. Joyner Testimony, Tr.

June 12, 79:16-81:11, 102:24-103:5; Pl. Exs. 5 (All Good Video), 25 (Shane’s World Studios), 1

(The Agency), at 25; Pl. Ex. 32 at 3269 (All Good Video), 3454-3455 (Shane’s World Studios),

3258-3259 (The Agency).

       233.    In another instance, involving the producer K-Beech, the front door of the

business opened into a large open room, which was the same room where the producer kept 2257

records and where the team remained for the inspection. Joyner Testimony, Tr. June 12, 81:12-

82:4; Pl. Exs. 14 (K-Beech).

       234.    If any other producer had asked the team to conduct its review of 2257 records in

the reception area, the team would have done so. Joyner Testimony, Tr. June 12, 82:5-8. In

another inspection, involving the producer Dead Men Hanging, the producer directed the team to

use a conference room outside the producer’s office, in a shared space. Lawrence Testimony, Tr.

June 11, 130:11-17, 23-25.

       235.    In some instances, the address listed on the 2257 label on a producer’s DVD or

website turned out to be a residence, and the inspection team therefore initiated the inspection at

the residence. Joyner Testimony, Tr. June 12, 86:25-87:9. Where a producer lists an address on

a 2257 label that is a residence, it may also be the producer’s business address. Joyner

Testimony, Tr. June 12, 118:22-119:15. On occasions where the address on the 2257 label was a

residence, the lead inspector would knock on the door or ring the doorbell of the residence, and

identify himself and the nature and scope of the inspection while remaining outside on the



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doorstep. Joyner Testimony, Tr. June 12, 87:12-17. The inspection team would not enter the

residence until the individual who opened the door invited them inside. Joyner Testimony, Tr.

June 12, 87:18-20. In inspections that occurred at a residence, the team would also review

record in the location chosen by the individual who was present. In the Moonlight inspection, the

team did not enter the residence, aside from the garage where the producer kept his 2257 records,

and reviewed the records in the garage and driveway of the residence. Joyner Testimony, Tr.

June 12, 119:16-120:11.

       236.    In most instances the producer would bring the records identified on the list to the

team for its review. Lawrence Testimony, Tr. June 11, 114:9-22; Joyner Testimony, Tr. June 12,

82:9-12. In one instance, the individual providing access (who was not the original producer)

indicated that the team should look through a filing cabinet in order to attempt to locate the

specified records. Lawrence Testimony, Tr. June 11, 114:17-22. In another instance, where a

producer (Private) had all its 2257 records in digital format, the producer copied the relevant

records onto CDs provided by the inspection team, and the inspection team reviewed those

records back at its office. Joyner Testimony, Tr. June 12, 82:13-83:10; Pl. Ex. 21, at 1963. The

lead inspector gave other producers the same option if they kept their 2257 records in digital

format. Joyner Testimony, Tr. June 12, 83:11-18.

       237.    The team would generally remain in the location where the producer indicated it

should review the 2257 records. One exception was that a member of the team might ask and be

allowed to use the restroom. Joyner Testimony, Tr. June 12, 126:8-10. The only other exception

was that, at some point, one member of the team would ask to photograph the file cabinet or

other location where the 2257 records were stored, in order to document that the records were

segregated from other business records. Lawrence Testimony, Tr. June 11, pp. 116:17-23, 190:2-



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7; Joyner Testimony, Tr. June 12, 126:4-12. The team member would be escorted by someone

from the company, and the process of photographing the records location would take less than a

minute. Joyner Testimony, Tr. June 12, 126:13-16.

       238.    In the Dead Men Hanging inspection, no member of the team entered the

producer’s office in order to take a photograph; the records were visible from the office doorway.

Lawrence Testimony, Tr. June 11, 133:10-16.

       239.    A member of the team would also photograph the location of the premises where

the producer had directed the team to stay while reviewing the records, to document that that

area was not damaged during the inspection. Lawrence Testimony, Tr. June 11, 117:4-7. On

one occasion, where the 2257 records were located at an individual’s small apartment, the team

did not take a photograph due to privacy concerns. Lawrence Testimony, Tr. June 11, 143:14-24;

Pl. Ex. 28 (JT Video). The team also did not take a photograph during the records inspection for

Ghost Pro Productions because the producer in that instance e-mailed the records from Thailand.

Pl. Ex. 16.

       240.    While the lead inspectors were generally guided by the procedures set forth in the

regulations and checklists, their application of those procedures varied depending on the

circumstances, and the inspectors understood themselves to have some discretion to adjust the

inspection procedures in response to particular circumstances. Lawrence Testimony, Tr. June 11,

128:18-24; Joyner Testimony, Tr. June 12, 85:19-23.

       241.    In accord with that understanding, the lead inspectors sometimes provided

advance notice to producers regarding an inspection, particularly where they believed that

advance notice would facilitate their ability to connect with the producer and complete the

records inspection. Joyner Testimony, Tr. June 12, 24-86:24; Lawrence Testimony, Tr. June 11,



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pp. 112:21-23, 113:2-7. This occurred in instances where the team determined that the 2257

records were not located at the address identified in the 2257 label on the producer’s DVD or

website, and the team thus had to undertake additional efforts to locate the records and complete

the inspection. Lawrence Testimony, Tr. June 11, pp. 129:3-11, 132:1-10, 134:8-135:2, 142:22-

143:13; Joyner Testimony, Tr. June 12, 24-86:24 Pl. Ex. 6 (Angry Young Man), 13 (Don Goo),

24 (Silver Star/NuTech), 28 (JT Video).

       242.    It also occurred in instances where no one was present at the time the team

attempted to initiate an inspection at the location identified in the 2257 label. Joyner Testimony,

Tr. June 12, 86:6-16, 87:21-88:6; Pl. Ex. 19 (Moonlight). If no one was present at the time the

team attempted to initiate an inspection, the inspection team might also simply return at a later

time. Lawrence Testimony, Tr. June 11 112:21-23, 113:2-7. The team never attempted to

forcibly enter a producer’s premises. Joyner Testimony, Tr. June 12, 88:20-22.

       243.    Once a producer provided the team with the records that it had identified, the

team would review the records for 2257 compliance according to the regulatory specifications

identified on the review form checklist. Lawrence Testimony, Tr. June 11, pp. 114:25-115:13. If

a potential violation was identified, the team would notify the lead inspector, who would discuss

it with the producer. Lawrence Testimony, Tr. June 11, pp. 115:19-24. If the producer could cure

the situation on the spot, he would do so, and no violation would be recorded. Lawrence

Testimony, Tr. June 11, pp. 115:25-116:10. At the end of the inspection, the team would discuss

any violations that had been identified with the producer, and the producer was generally given a

week to respond and try to cure the violations. Lawrence Testimony, Tr. June 11, 116:12-16;

Joyner Testimony, Tr. June 12, 94:24-95:6.

       244.    The lead inspector would prepare a report regarding the inspection and would



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provide the report to FBI Headquarters and the local United States Attorney’s Office. Lawrence

Testimony, Tr. June 11, 138:13-17; Joyner Testimony, June 12 Tr., 95:2-12. The team was not

involved in any decisions regarding whether to take enforcement action based on violations

described in the reports. Joyner Testimony, June 12 Tr., 95:14-18.

       245.    If a producer had denied access to its 2257 records, the inspection team might

have sought a search warrant. Id. 108:21-111:15. However, that situation never arose. Id. 111:16-

17. Indeed, both SSAs who acted as lead inspectors testified that, as far as they recall, no

producer expressed reluctance when providing access to its 2257 records. Lawrence Testimony,

Tr. June 11, 112:15-17.

       E.      The Role of Various Requirements in the Regulatory Scheme

       246.    Based on their experience with the inspection process, the SSAs who served as

lead inspectors testified regarding how various requirements in the 2257 regulations operated,

and how they facilitated the inspection process. The segregation requirement in the 2257

regulations facilitated inspections because neither the producer nor the inspection team would

need to look through a producer’s business files in order to find the relevant records. Lawrence

Testimony, Tr. June 11, 118:22-119:9; Joyner Testimony, Tr. June 12, 89:1-8. However, there

was no restriction on a producer keeping 2257 records for material that was still in draft form or

in an editing phase together with other 2257 records for material that had already been publicly

released. Lawrence Testimony, Tr. June 11, 123:12-124:13. “As long as they were 2257 records,

it didn’t matter. But [the inspection team] only focused on those records that pertained to the

films that we had selected for inspection.” Lawrence Testimony, Tr. June 11, 124:11.

       247.    The labeling requirement facilitated inspections because the label identified the

location where the team could find the records, or at least provided a starting point for that effort.



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Lawrence Testimony, Tr. June 11, pp. 121:14-122:4; Joyner Testimony, Tr. June 12, 89:13-18.

The team only looked at labels on material that had been publicly released. It was not interested

in determining whether earlier drafts of materials or work that had never been published

contained a 2257 label. Lawrence Testimony, Tr. June 11, 122:5-17.

       248.    The cross-referencing regulation required a producer to keep a spreadsheet, list, or

database of some kind that kept track of a performer’s name, stage name, and what films the

performer had appeared in. Id. 124:19-23. Such a spreadsheet did not need to be kept together

with 2257 records but could be kept separately on a producer’s computer. Lawrence Testimony,

Tr. June 11, pp. 124:24-125:5; Joyner Testimony, Tr. June 12, 90:2-10. The cross-referencing

requirement facilitated inspections because it could help the inspection team identify the true

name of a performer. Joyner Testimony, Tr. June 12, 90:11-24.

       249.    The SSAs also testified that they could not always tell, based on the initial pre-

inspection product review, whether the individuals appearing in a producer’s films were 18 or

older. Joyner Testimony, Tr. June 12, 126:25-127:8. In the inspection of the producer Real Wild

Girls, that was the case because the individuals in the producer’s videos were very young

looking. Joyner Testimony, Tr. June 12, 127:5-8; Pl. Ex. 18. In that inspection, the producer had

no 2257 records, and as a result, the inspection team was never able to determine whether the

individuals in the videos were minors or adults. Joyner Testimony, Tr. June 12, 127:9-12.

Dated this 1st day of July, 2013.             Respectfully submitted,

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